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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  WE-DO-IT PTY LTD.,

                 Plaintiff,                       C.A. No. 23-820-GBW

          v.

  WE-DO-IT INC.,

                 Defendant.

         STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING ON
                      DEFENDANTS’ MOTION TO DISMISS

         WHEREAS, plaintiff we-do-IT Pty Ltd. (“Plaintiff”) filed its Complaint against defendant

 we-do-IT Inc. (“Defendant”) on July 28, 2023;

         WHEREAS, Defendant’s Motion to Dismiss or Stay was filed on September 19, 2023;

         IT IS HEREBY STIPULATED AND AGREED, by and among the parties, through their

 undersigned counsel and subject to the approval of the Court, that:

         1.     The time for Plaintiff to file its answering brief will be on or before October 17,

 2023;

         2.     The time for Defendant to file its reply brief will be on or before October 31, 2023.


   Dated: September 28, 2023                          K&L GATES LLP

                                                      /s/ Megan E. O’Connor
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